Case 04-12158   Doc 140    Filed 10/02/21 Entered 10/02/21 23:09:06   Desc Imaged
                          Certificate of Notice Page 1 of 3
           Case 04-12158                 Doc 140         Filed 10/02/21 Entered 10/02/21 23:09:06                                       Desc Imaged
                                                        Certificate of Notice Page 2 of 3
                                                                United States Bankruptcy Court
                                                                 Northern District of Illinois
In re:                                                                                                                   Case No. 04-12158-TAB
Viorica Seceleanu                                                                                                        Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0752-1                                                    User: admin                                                                  Page 1 of 2
Date Rcvd: Sep 30, 2021                                                 Form ID: pdf012                                                             Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 02, 2021:
Recip ID                  Recipient Name and Address
db                      + Viorica Seceleanu, 7306 N Winchester Avenue, Unit 503, Chicago, Il 60626-5517

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                     Date/Time                  Recipient Name and Address
9155331                    Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                          Sep 30 2021 22:23:00       Department of the Treasury IRS, 230 S Dearborn,
                                                                                                                     Stop 5016-CHI, Chicago, IL 60604

TOTAL: 1


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 02, 2021                                             Signature:            /s/Joseph Speetjens




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 28, 2021 at the address(es) listed
below:
Name                                Email Address
David E Cohen
                                    on behalf of Plaintiff The Inverbrass Funds LLC dcohen@fishercohen.com

Jayne Laiprasert
                                    on behalf of Plaintiff Ronald R Peterson not individually, but solely as chapter 7 trustee for the bankruptcy estate of Viorica
                                    Seceleanu jlaiprasert@jenner.com, docketing@jenner.com

Jeremy T Stillings
                                    on behalf of Attorney Jeremy Stillings jstillings@proskauer.com jstillings@soliccapital.com
         Case 04-12158        Doc 140       Filed 10/02/21 Entered 10/02/21 23:09:06                               Desc Imaged
                                           Certificate of Notice Page 3 of 3
District/off: 0752-1                                      User: admin                                                             Page 2 of 2
Date Rcvd: Sep 30, 2021                                   Form ID: pdf012                                                        Total Noticed: 2
Kenneth K Ditkowsky
                          on behalf of Debtor 1 Viorica Seceleanu kenditkowsky@yahoo.com

Michael J Greco
                          on behalf of Debtor 1 Viorica Seceleanu michaelgreco18@yahoo.com highplainslawyer@hotmail.com

Patrick S Layng
                          USTPRegion11.ES.ECF@usdoj.gov

Ronald Peterson
                          on behalf of Defendant Ronald R Peterson rpeterson@jenner.com lraiford@jenner.com,PJacobs@jenner.com

Ronald R Peterson
                          on behalf of Attorney Jenner & Block LLP rpeterson@jenner.com rpeterson@ecf.axosfs.com;docketing@jenner.com

Ronald R Peterson
                          rpeterson@jenner.com rpeterson@ecf.axosfs.com;docketing@jenner.com


TOTAL: 9
